     Case 1:20-cv-02843-JGK-BCM Document 46 Filed 04/06/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                           4/6/2021
KHALIL O. JACKSON,
             Plaintiff,
                                                      20-CV-2843 (JGK) (BCM)
      -against-
                                                      ORDER
MORGAN STANLEY SERVICES GROUP
INC., et al.,
             Defendants.

BARBARA MOSES, United States Magistrate Judge.

      For the reasons stated on the record during the April 5, 2021 discovery conference it is

hereby ORDERED that:

      1.     Promotion Committee. With respect to the promotion committee which

             considered (or would have considered) plaintiff for a potential promotion in 2010-

             11, defendants shall promptly search the emails of the individual referred to in

             plaintiff's letter application as the "organizer" of that committee (Dkt. No. 42 at 2)

             using the parties' agreed-upon search terms and produce responsive documents.

      2.     Other Discrimination Complaints. Defendants shall promptly produce:

             a.      All formal complaints of discrimination (that is, federal or state lawsuits

                     and federal, state or local administrative complaints) on the basis of U.S.

                     military service made against Morgan Stanley during the period 2010

                     through 2017 by U.S.-based employees in the Technology and Data

                     "Super Division"; and

             b.      All formal complaints of discrimination on the basis of race made against

                     Morgan Stanley during the period 2015 through 2017 by U.S.-based

                     employees in the Technology and Information Risk "Division."
     Case 1:20-cv-02843-JGK-BCM Document 46 Filed 04/06/21 Page 2 of 2




            c.     To the extent defendants are aware of a responsive complaint but do not

                   possess a physical or electronic copy of the document, they shall produce

                   sufficient identifying information (e.g., the name of the plaintiff or

                   complainant, the name of the court or administrative agency, the docket or

                   file number of the matter, and the date of which it was filed) to allow

                   plaintiff to locate the file at the relevant court or agency.

      3.    Promotion Information. Defendants shall promptly produce the following

            information, either in the form of interrogatory answers or by producing

            documents reflecting the required data:

            a.     For each year (either a fiscal year or a calendar year, so long as the

                   production is consistent) from 2010 through 2017, the number of Vice

                   Presidents at the start of the year; the number of VPs promoted to

                   Executive Director; the number of EDs at the start of the year; and the

                   number of EDs promoted to Managing Director, in each case limited to

                   the Technology and Data Super Division; and

            b.     For each year from 2015 through 2017, the number of individuals in each

                   of the categories listed in ¶ 3(a) who self-identified as Black, African

                   American, or Two or More Races.

Dated: New York, New York
       April 6, 2021
                                           SO ORDERED.



                                           ________________________________
                                           BARBARA MOSES
                                           United States Magistrate Judge




                                              2
